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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

Nola Jean

                      Plaintiff,                         CIVIL ACTION FILE

vs.
                                                         NO. 1:14-cv-2867-WBH

James R. Wofford, et al,

                      Defendants.


                                    JUDGMENT

       This action having come before the court, Honorable Willis B. Hunt, Jr., United

States District Judge, it is

       Ordered and Adjudged that the action be DISMISSED WITHOUT PREJUDICE


pursuant to Local Rule 41.3(3) for want of prosecution

       Dated at Rome, Georgia, this 31st day of July, 2015.

                                                         JAMES N. HATTEN
                                                         CLERK OF COURT


                                                 By: s/J. Acker
                                                      Deputy Clerk

Prepared, Filed, and Entered
in the Clerk’s Office
July 31, 2015
James N. Hatten
Clerk of Court

By: s/J. Acker
       Deputy Clerk
